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              Debtor2
              (Spouse, if filing) First Name               Middle Name


              United States Bankruptcy Court for the: ~-0 ,,,/-lkt.t,.,oistrict of

              Case number            1'}-;J..oJ.Ob -r       eoR.
              (If known)                                                                                                                         D   Check if this is an
                                                                                                                                                     amended filing




           Official Form 107
           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19
           Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
           information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
           number (if known). Answer every question.


                             Give Details About Your Marital Status and Where You Lived Before


             1. What is your current marital status?

                  D~rried
                  !Y'Not married


             2. During the last 3 years, have you lived anywhere other than where you live now?

                 ~o
                 0     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                           Debtor 1:                                             Dates Debtor 1   Debtor 2:                                           Dates Debtor 2
                                                                                 lived there                                                          lived there




                           Number
                                           }J   1~
                                           Street
                                                                                 From
                                                                                                  D   Same ~s Debtor 1


                                                                                                      Number Street
                                                                                                                                                     D   Same as Debtor 1

                                                                                                                                                         From
                                                                                 To                                                                      To




                           City                        State ZIP Code                                 City                    State ZIP Code

                                                                                                  D   Same as Debtor 1                               D   Same as Debtor 1

                                                                                 From                                                                    From
                           Number          Street                                                     Number Street
                                                                                 To                                                                      To




                           City                        State ZIP Code                                 City                    State   ZIP Code




                 star
             3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
                      and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

                 ~ No
                  D Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




-· •ifj                     Explain ttie Sources of Your Income
,;, ·'.;,: Official Fo-~ 107 't·         ....               Statement ofFina~·cial Affairs for Individuals Filing for Ba-.;kruptcy                         page 1
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                    Debtor 1
                                         First Name      Middle Name              Last Name
                                                                                                                                                                 Case number (ilknown)          J.../ ~ J.-O;L06- P/JR


                       4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
                          Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
                          If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.



                                ~ : s . Fill in the details.




                                                                                         Sources of income                                    Gross income                 Sources of income                               Gross income
                                                                                         Check all that apply.                                {before deductions and       Check all that apply.                           (before deductions and
                                                                                                                                              exclusions}                                                                  exclusions}


                                    From January 1 of current year until
                                                                                         D        Wages, commissions,                                                         D   Wages, commissions,
                                                                                                                                                                                                                          $_ _ _ _ _ __
                                                                                                  bonuses, tips                               $_ _ _ _ _ __                       bonuses,tips
                                    the date you filed for bankruptcy:
                                                                                         D        Operating a business                                                        D   Operating a business


                                    For last calendar year:
                                                                                         D        Wages, commissions,                                                         D   Wages, commissions,
                                                                                                  bonuses, tips                               $_ _ _ _ _ __                       bonuses, tips                           $_ _ _ _ _ __
                                    (January 1 to December 31, - - - ~
                                                               yyyy
                                                                                         D        Operating a business                                                     D      Operating a business



                                    For the calendar year before that:
                                                                                         D        Wages, commissions,                                                      D      Wages, commissions,
                                                                                                  bonuses, tips                               $_ _ _ _ _ __                       bonuses, tips
                                                                                                                                                                                                                          $_ _ _ _ __
                                    (January 1 to December 31, - - - ~
                                                               yyyy
                                                                                         D        Operating a business                                                     D      Operating a business




                      5. Did you receive any other income during this year or the two previous calendar years?
                         Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
                         unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
                         gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

                            List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                            0      No
                            D      Yes. Fill in the details.



                                                                                         Sources of income                                   Gross income from                Sources of income                           Gross income from
                                                                                         Describe below.                                     each source                      Describe below.                             each source
                                                                                                                                             {before deductions and .                                                     {before deductions and
                                                                                                                                             exclusions}                                                                  exclusions}



                                     From January 1 of current year until                                                                  $________ - - - - - - - - - - $_ _ _ _ _ __
                                     the date you filed for bankruptcy:                                                                    $________ - - - - - - - - - - $_ _ _ _ _ __
                                                                                                                                           $_ _ _ _ _ _ _ _ - - - - - - - - - -
                                                                                                                                                                                                                        L

                                     For last calendar year:                                                                              $_ _ _ _ _ _ _ _ - - - - - - - - - - $_ _ _ _ _ __

                                     (January 1 to December 31, _ _ _)                                                                    $________ - - - - - - - - - - $_ _ _ _ _ _ __
                                                                yyyy
                                                                                                                                          $________ - - - - - - - - - - $_ _ _ _ _ _ __



                                     For the calendar year before that:                                                                   $_ _ _ _ _ _ _ _                                                              $_ _ _ _ _ _ __

                                     (January 1 to December 31, _ _ _)                                                                                                                                                  $_ _ _ _ _ __
                                                                                                                                          $________ - - - - - - - - - -
                                                                yyyy
                                                                                                                                                                                                                        $_ _ _ _ _ __
                                                                                                                                          $_ _ _ _ _ _ _ _ - - - - - - - - - -




                                                           -·;on-:1,                                        <.J,,··,.~ ·.e:xnl.'liu th.r·                                 ·   •'••H·   !•::.:orne                                            : ..~      - : Explain__tt
                                                                                                                                                                                                                                                 Ji··-_-,'B._'.........,.._._, _
·,   ..... , ~......,..... . .
                     ~      ,                              ~--.-•»~·•·.·~ ,,,_ ... "'.-"""'   -    ...,,.   ·.... {~\   ; - ~ •. ,..,;....,.__., .... ,.._,._.                          ...... ~ . , - - . : , - - - , - , . ; ; . ~ ~ ~ -
                                                                                                                                                                                                                                                          ..        ··-       .
             · 1, Official Form 107                             ·,f ! · Staterrferit ofFinancial Affairs for Individuals Filing for Bankruptcy                                                   ,f 1                    <f11;,              page 2.
                                                Case 21-20206-PDR                        Doc 17        Filed 11/10/21                  Page 3 of 12



                                                                           (Y)(Cfl I ifl                                                      0-.,I- 'lf)M b- 'Pl>E_
Debtor 1                                                                                                               Case number {if k n o w n ) ~ - - - - - - - - - - - - -
                         First Name              Middle Name            Last Name




                       List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

      D    No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                        {           No. Go to line 7.

                        D           Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                        • Subject to adjustment on 4/01 /22 and every 3 years after that for cases filed on or after the date of adjustment.

      D    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        D       No. Go to line 7.

                       D        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                                     creditor. Do not include payments for domestic support obligations, such as child support and
                                     alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                                        Dates of     Total amount paid               Amount you still owe   Was this payment for...
                                                                                        payment


                                                                                                      $_ _ _ _ _ _ _ $_ _ _ _ _ __
                                      Creditor"s Name
                                                                                                                                                            D Mortgage
                                                                                                                                                            Dear

                                      Number    Street                                                                                                      D Credit card
                                                                                                                                                            D Loan repayment
                                                                                                                                                            D Suppliers or vendors
                                      City                     State        ZIP Code
                                                                                                                                                            D Other _ _ _ __

                                                                                                      $_ _ _ _ _ _ _ _ $ _ _ _ _ _ _ _ _
                                                                                                                                                            D Mortgage
                                      Creditor"s Name
                                                                                                                                                            Dear

                                      Number    Street
                                                                                                                                                            D Credit card
                                                                                                                                                            D Loan repayment
                                                                                                                                                            D Suppliers or vendors
                                                                                                                                                            Dother _ _ __
                                      City                     State       ZIP Code




                                      Creditor's Name
                                                                                                      $_ _ _ _ _ _ _ _ $ _ _ _ _ _ _ __
                                                                                                                                                            •   Mortgage

                                                                                                                                                            Dear

                                      Number    Street
                                                                                                                                                            D Credit card
                                                                                                                                                            D Loan repayment
                                                                                                                                                            D Suppliers or vendors
                                                                                                                                                            Dother _ _ __
                                      City                     State       ZIP Code




                                                                                                                  .. ~. ..... ·..·
             .·«"
              .... ·   .... , ...
                                ,,_

Official Form 1fr'.ifr                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy'.                              page3
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      Debtor 1
                          ~lo         M~dleName
                                                                                                      Casenumber(rtknown):J../-      J,()~6 _,. Pp,€


        7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
            Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
            corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
            agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
            such as child support and alimony.

            ~o
            0    Yes. List all payments to an insider.
                                                                          Dates of     Total amount      Amount you still       Reason for this payment
                                                                          payment      paid              owe


                                                                                      $_ _ _ __         $_ _ _ _ __
                   Insider's Name



                   Number    Street




                   City                           State   ZIP Code
                                                                                                                            I
                                                                                      $______ $_ _ _ __
                   Insider's Name


                  Number     Street




                  City                            State   ZIP Code


       8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
           an insider?
           Include payments on debts guaranteed or cosigned by an insider.

           ~o
           0     Yes. List all payments that benefited an insider.

                                                                        Dates of       Total amount     Amount you still    Reason for this payment
                                                                        payment        paid             owe
                                                                                                                            Include creditor's name        __ _

                                                                                      $_ _ _ _ _ $_ _ _ _ _
                  Insider's Name



                  Number     Street


                                                                                                                                                                               I
                  City                            State   ZIP Code                                                                                                             i
                                                                                                                                            ----- ---- -   ---    -------   ---,I
                                                                                      $_ _ _ _ _ $_ _ _ _ __                                                                   I
                                                                                                                                                                               I
                  Insider's Name



                  Number     Street




                  City                            State   ZIP Code

                                                                                                                                                                               .   .-·   ~~   .. _,


··:i" Official Fofittt"107,·"                        Statement of Financial Affairs foflndividuals Filjng for Bankruptcy-·                                        page4
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Debtor 1
                 First Name            Middle Name
                                                                                                                      Case number (if known)    1.J - J,J}t-Ob- pl)R
                                                                                                                                               ---------------

                Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     rJ/No
     0     Yes. Fill in the details.
                                                                        Nature of the case                       Court or agency                               Status of the case



            Case title._ _ _ _ _ _ _ _ _ _ __
                                                                                                               Court Name
                                                                                                                                                              D   Pending

                                                                                                                                                              D   On appeal

                                                                                                               Number    Street                               D   Concluded

            Case number
                                                                                                               City                    State     ZIP Code




            Casetitle_ _ _ _ _ _ _ _ _ _ _ _                      1-                                           Court Name
                                                                                                                                                              D   Pending

                                                                                                                                                              D   On appeal

                                                                                                               Number    Street                               D   Concluded

            Case number
                               ---------1!                                                                     City                    State    ZIP Code
                                                                  L_____ ---- ---- ------------ ------- ....
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

    [) .t-Jo. Go to line 11.
    rrves. Fill in the information below.
                                                                                 Describe the property                                            Date      Value of the property




                                                                                 Explain what happened


                  /JLf!).                                                        D yroperty was repossessed.
                                                                                 c:!" Property was foreclosed.
                                                                                 D    Property was garnished.
                                                     State                       0    Property was attached, seized, or levied.




                                        ----1 ---- -
                                                                                 Describe the property                                            Date       Value of the propertJ



                                                                                                                                                            $_ _ _ _ __

                -Cred-itor"s-Nam-e



                 Number       Street
                                                                                 Explain what happened


                                                                                 D    Property was repossessed.
                                                                                 D    Property was foreclosed.

                 City                                State   ZIP Code
                                                                                 D    Property was garnished.
                                                                                 D    Property was attached, seized, or levied.



                                                        Statement of Firiancia.l'Affairsrfor Individuals Filing for Bankruptcy                                   · ·,;•,page-5   "'W~-
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Debtor 1                                                                                                       Case number (if known)   ')_/-   JJJ;.,o6 -- J'L)I?
                    First Name     Middle Name                 Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     a?unts or refuse to make a payment because you owed a debt?
     ijZI   No
     0      Yes. Fill in the details.

                                                                       Describe the action the creditor took                             Date action      Amount
                                                                                                                                         was taken
            Creditor's Name


                                                                                                                                                          $_ _ _ _ _ __
            Number      Street




            City                           State    ZIP Code          Last 4 digits of account number: XXXX-_ _ _ _


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     cre~rs, a court-appointed receiver, a custodian, or another official?
     l:J""No
     0      Yes


•Mil               List Certain Gifts and Contributions


 13. Wit_?in 2 years before you filed for b~nkruptcy, did you give any gifts with a total value of more than $600 per p~rson?
     (B" No
     0 Yes. Fill in the details for each gift.

             Gifts with a total value of more than $600               Describe the gifts                                                 Dates you gave         Value
             per person                                                                                                                  the gifts



                                                                                                                                                            $_ _ _ __
            Person to Whom You Gave the Gift


                                                                                                                                                            $_ _ _ _ _ _


            Number     Street



            City                           State    ZIP Code


            Person's relationship to you


            Gifts with a total value of more than $600                Describe the gifts                                                 Dates you gave      Value
            per person                                                                                                                   the gifts


                                                                                                                                                             $_ _ _ _ _ _
            Person to Whom You Gave the Gift


                                                                                                                                                             $_ _ _ _ _ _



            Number     Street



            City                           State    ZIP Code


            Person's relationship to you _ _ _ _ __



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Debtor 1
                   First Name        Middle Name                 Last Name
                                                                                                                     Case number (if known)   'J./ - 'J.., 0 ;J,, {l {;   -    f D/<,

  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ~o
     0Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                        Describe what you contributed                                             Date you                    Value
             that total more than $600                                                                                                            contributed



                                                                                                                                                                              $_ _ _ __
           Charity's Name


                                                                                                                                                                              $_ _ _ _ __



           Number     Street




           City          State         ZIP Code




•,,,               List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     r(No                        .
     0     Yes. Fill in the details.

            Describe the properly you lost and                          Describe any insurance coverage for the loss                             Date of your                 Value of property
            how the loss occurred                                                                                                                loss                         lost
                                                                        Include the amount that insurance has paid. List pending insurance
                                                                        claims on line 33 of Schedule AIB: Property.


                                                                                                                                                                              $ _ _ _ _ __




•::..-:,•-- List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Incl~ any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     rj{No
     0     Yes. Fill in the details.

                                                                        Description and value of any property transferred                        Date payment or              Amount of payment
                                                                                                                                                 transfer was
            Person Who Was Paid                                      - ~ - - - - ~ - - - ------- ------·--·--·---- - - - - - - - -               made


            Number      Street                                                                                                                                                $_ _ _ _ __


                                                                                                                                                                              $_ _ _ __

            City                         State        ZIP Code



            Email or website address


            f~?n    Who M@_dl' the f,'.ayment, if Not You



Official Form 107         '~"                ,:if'·     ·Statement ofFinancral Affairs for Individuals Filing for Bankruptcy - .•<;F·                                                 pl'@e 7 -·
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Debtor 1
                    First Name     Middle Name
                                                                                                           Case number (if known)   l/-~~ ,. P/J/2.
           ----------------------------                                                    ...   ----------------·--
                                                              Description and value of any property transferred                         Date payment or      Amount of
                                                                                                                                        transfer was made    payment


             Person Who Was Paid
                                                                                                                                                            $_ _ _ _ __
             Number       Street

                                                                                                                                                            $_ _ _ _ _



            City                       State     ZIP Code




            Email or website address



            Person Who Made the Payment, ~ Not You



 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     ~o
     D     Yes. Fill in the details.

                                                              Description and value of any property transferred                         Date payment or     Amount of payment
                                                                                                                                        transfer was
                                                                                                                                        made
             Person Who Was Paid

                                                                                                                                                            $_ _ _ __
             Number       Street


                                                                                                                                                            $_ _ _ _ _

            -C-ity_ _ _ _ _ _ _ _S_t-at_e__Z_I_P_C-od_e____________________________ -----·- - - - - · · - · · - - - - - -           j
 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do..!)'it include gifts and transfers that you have already listed on this statement.
     lil'No
     D     Yes. Fill in the details.
                                                             Description and value of property            Describe any property or payments received           Date transfer
                                                             transferred                                  or debts paid in exchange                            was made

            Person Who Received Transfer



            Number       Street




            City                       State     ZIP Code


            Person's relationship to you _ _ _ _ __


            Person Who Received Transfer



            Number       Street




            City.                      State     ZIP Code
                                                            --------·--------,-------,.-,•-= ...           ,.~,.-,-----------·-···--·--··--------
           ·Person's relationship to you _ _ _ _ __

Official Form 107fri:                              Statement of Financial Affairs for Individuals Filing·:fdr Bankruptcy                                         pages
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      Debtor 1
                           First Name          Middle Name              Last Name
                                                                                                                          Case number (if known)    11,.

         19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or simila,
             are a beneficiary? (These are often called ~sset-protection devices.)

             ~o
             D   Yes. Fill in the details.

                                                                                Description and value of the property transferred




                 Name of trust          _ _I

                 - - L_____________ -------------------- --
0'   •   :F.Ti•:i:i   List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

         20. Within1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
            closed, sold, moved, or transferred?
            Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
            brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
            0    No
            0    Yes. Fill in the details.

                                                                                Last 4 digits of account number     Type of account or             Date account was       Last balance before
                                                                                                                    instrument                     closed, sold, moved,   closing or transfer
                                                                                                                                                   or transferred

                  Name of Financial Institution
                                                                                XXXX-_       __ _                   0   Checking                                          $_ _ __

                  Number        Street
                                                                                                                    0   Savings

                                                                                                                    0   Money market

                                                                                                                    0   Brokerage
                  City                             State     ZIP Code
                                                                                                                    00ther""""=-c==


                                                                                XXXX-_ _ _ _                        0   Checking                                          $_ _ _ __
                  Name of Financial Institution
                                                                                                                    0   Savings

                  Number        Street                                                                              0   Money market

                                                                                                                    0   Brokerage
                                                                                                                    Oother_ _ __
                  City                             State     ZIP Code

         21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
             securities, cash, or other valuables?
            0    No
            0    Yes. Fill in the details.
                                                                               Who else had access to it?                      Describe the contents                             Do you still
                                                                                                                                                                                 have it?

                                                                                                                                                                                 0   No
                  Name of Financial Institution                               Name
                                                                                                                                                                                 0   Yes


                  Number        Street                                        Number    Street


                                                                              City        State

                  City ,                          State      ZIP Code



 • r,-Official Form 107~--               -«-                   Statement of Financial Affairs for]ndividuals Filing for Bankruptcy                                             paije 9
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   Debtor 1
                       First Name     Middle Name
                                                      lf/~;/4   Last Name
                                                                                                                                      Case number (if known)   2J-J,_()J,,.O 6- PJJI!..


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       •      No
        0     Yes. Fill in the details.
                                                                       Who else has or had access to it?                                    Describe the contents                      Do you still
                                                                                                                                                                                       have it?

                                                                                                                                                                                       •   No
                Name of Storage Facility                               Name
                                                                                                                                                                                       • Yes
                Number       Street                                    Number        Street


                                                                       City State ZIP Code

                City                        State    ZIP Code



                        Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
        or )old in trust for someone.
        liif No
        0     Yes. Fill in the details.
                                                                      Where is the property?
                                                                                                                                           r -------- --- -
                                                                                                                                            Describe the property                  Value



               Owner's Name                                                                                                                                                       $_ _ __


               Number       Street
                                                                    --1
                                                                     Number




                                                                     City
                                                                                  Street




                                                                                                             State       ZIP Code
               City                         State    ZIP Code

                        Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:
    • Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
        hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
        including statutes or regulations controlling the cleanup of these substances, wastes, or material.

    • Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
        utilize it or used to own, operate, or utilize it, including disposal sites.

    • Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
        substance, hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        ~o
        0     Yes. Fill in the details.
                                                                      Governmental unit                                          Environmental law, if you know it               Date of notice




              Name of site
                                                                     ""G-ov_e_m_m_e_n,..ta.,..Iu - n - , - l t - - - - - - - l   -     -         - .             .   ~            ----



              Number       Street                                    Number       Street


                                                                     City                       State      ZIP Code



              City                         State    ZIP Code



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Debtor 1
                                                                                      Last Name
                                                                                                                                                      Case number(ifknown)   J.,/-t-PW b- P!J/2.

  25. Have you notified any governmental unit of any release of hazardous material?

     ~
     0     Yes. Fill in the details.
                                                                                               Governmental unit                                 Environmental law, if you know it                   Date of notice



            Name of site                                                                      Governmental unit


            Number    Street                                                                  Number      Street



                                                                                              City                   State        ZIP Code


            City                                   State            ZIP Code


 26. Ha,:. you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    'Ei No
     0     Yes. Fill in the details.
                                                                                                                                                                                                      Status of the
                                                                                                   Court or agency                                    Nature of the case
                                                                                                                                                                                                      case

           Case title_ _ _ _ _ _ _ _ _ _ _ __
                                                                                                Court Name
                                                                                                                                                                                                      0   Pending

                                                                                                                                                                                                      0   Onappeal

                                                                                                Number      Street                                                                                    0   Concluded


           Case number                                                                          City                         State    ZIP Code



                   Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           0   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           0   A member of a limited liability company (LLC) or limited liability partnership (LLP)
           0   A partner in a partnership
           0   An officer, director, or managing executive of a corporation
           0   An owner of at least 5% of the voting or equity securities of a corporation

     0     No. None of the above applies. Go to Part 12.
     0     Yes. Check all that apply above and fill in the details below for each business.
                                                                                                Describe the nature of the business                                 Employer Identification number
                                                                                                                                                                    Do not include Social Security number or ITIN.
            Business Name
                                                                                                     · · · _- - - - . · . . . . 1                                   EIN:
            Number    Street
                                                                                                Name of accountant or bookkeeper                                    Dates business existed



                                                                                              I- -~ -- ---
                                                                                                Describe the nature of the business
                                                                                                                                                                J   From                  To

                                                                                                                                                                    Employer Identification number

            Business Name                                                                     [-     -·   ..   -------        -
                                                                                                                                                                    Do not include Social Security number or ITIN.


                                                                                                                                                                    EIN:
            Number    Street
                                                                                                Name of accountant or bookkeeper                                    Dates business existed




            -C-lty______


Official Form 107                                               •·ir:
                                                                                         -r- ·----------------~- •-Cr~
                       ,.---~--t-_·_.._:,__~-.~-t-~t-.?-,.,-.•--~,, --., .~--,~,-,?d-,_____
                                                                                       e

                                                                        ,-statement of Financial· Affairs for Individuals Filing for Bankruptcy;· ·
                                                                                                                                                                                          To


                                                                                                                                                                                ·n,;: · ..,.. ·
                                          Case 21-20206-PDR                            Doc 17          Filed 11/10/21                    Page 12 of 12



       Debtor 1                                                                                                          Case number (ilknown),~'J}~·         __b_·_-_f_'JJ._1(.___
                                                                                                                                                     _~_a,_tJ_UJ
                           First Name     Middle Name              Last Name




ff                                                                           Describe the nature of the business
                                                                                                                                           Employer Identification number
                                                                                                                                           Do not include Social Security number or ITIN.
                     Business Name



                    Number       Street
                                                                         I                                                           ]     EIN:

                                                                             Name of accountant or bookkeeper                              Dates business existed



                                                                                                                                           From
                                                                        I _- -- -- --- --~
                                                                                                                                                              To
                    City                       State    ZIP Code




 tff     28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
             institutions, creditors, or other parties.

             0     No
             0     Yes. Fill in the details below.

                                                                             Date Issued




                    Name                                                     MM/DD/YYYY



                    Number       Street




                    City                       State    ZIP Code




d -""'•••-~                Sign Below

              I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
              answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
              in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
              18 U.S.C. §§ 152, 1341, 1519, and 3571.




               jC       ~
                    Signature of Debtor 1
                                                        :s ::>                               Signature of Debtor 2


                    Date!t:'1-Lf                                                             Date   J/-J-"Z{
              Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

               0     No
               D     Yes


              Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
              0     No
              0     Yes. Name of person,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                         Declaration, and Signature (Official Form 119).



                                                                                                                   -···- ·St,:11,:··--ZJPCodc


       Official:!Forrn 107 ·' fk:- · ~• ·, ·            · ··Statement of Financial Affairs for lndividlia1s Filing for Bankruptcy                                            , page 12
